




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





ALLEGHENY CASUALTY AND 

RONALD W. ARMSTEAD,


                                    Appellant,


v.


THE STATE OF TEXAS,


                                    Appellee. 

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No. 08-08-00035-CV



Appeal from


 282nd District Court


of Dallas County, Texas


(TC # F06-65708-S)




MEMORANDUM OPINION



	This appeal is before the court on its own motion for determination of whether it should be
dismissed for want of prosecution.  Finding that the Appellants have failed to file a brief or respond
to our inquiry letter, we dismiss the appeal for want of prosecution.

	On April 22, 2008, this Court informed Appellants by letter that their brief was past due and
no motion for extension of time had been filed.  The Court advised Appellants that the appeal would
be dismissed unless they responded within ten days and provided a reason why the appeal should be
continued.  See Tex.R.App.P. 38.8.  No reply has been filed.

	This Court possesses the authority to dismiss an appeal for want of prosecution when
appellant has failed to file his brief in the time prescribed, and gives no reasonable explanation for
such failure.  Tex.R.App.P. 38.8(a)(1); Elizondo v. City of San Antonio, 975 S.W.2d 61, 63
(Tex.App.--San Antonio 1998, no writ).  We have given notice of our intent to dismiss the appeal,
requested a response if a reasonable basis for failure to file the brief exists, and have received none. 
We see no purpose that would be served by declining to dismiss this appeal at this stage of the
proceedings.  Pursuant to Tex.R.App.P. 42.3(b), 42.3(c), and 38.8(a)(1), we dismiss the appeal for
want of prosecution.


June 30, 2008						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.


